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EARNESTINE W. BUTLER,
Plaintiff,
NO. 04-2006 Ml/P

Vo

ADAM'S MARK HOTEL, et al.,

Defendants.

 

ORDER GRANTING PLAINTIFF’S MOTION TO MODIFY AND ENLARGE
SCHEDULING ORDER

 

Before the Court is Plaintiff's Motion to Modify and Enlarge
Scheduling Order, filed April 4, 2005. Good cause having been
shown, the Court GRANTS the motion. The Court hereby RESETS the
scheduling order in this case as follows:

Completing All Discovery: August 15[ 2005

a) Written Discovery: July 21l 2005

b) Depositions: August 15l 2005

c) Expert Disclosures (Rule 26)

l) Plaintiff’s Rule 26 Expert Disclosures: July 21¢
2005
2) Defendants’ Rule 26 Expert Disclosures: August 21l
2005

Filing Dispositive Motions: Sthember 15c 2005

Trial: The trial in this matter is set to begin: Mondayc November

28, 2005, at 9:30 a.m. in courtroom no. 4.

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Pretrial Conference: A pretrial conference is set for Mondayl
November 21, 2005, at 8:45 a.m.
Pretrial Order: The pretrial order is due by no later than 4:30
p.m. on Mondav, November 14, 2005.

Absent good cause, the dates established by this order shall

not be extended or modified.

SO ORDERED this (f th day of May, 2005.

QQM>‘(’MQ

JO P. MCCALLA
UN TED STATES DISTRICT JUDGE

 

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 40 in
case 2:04-CV-02006 Was distributed by faX, mail, or direct printing on
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Earnestine W. Butler
1931 Capri Rd.
1\/1emphis7 TN 38117

Ruby R. Wharton

THE WHARTON FIRM
147 .1 efferson Avenue
Ste. 1205

1\/1emphis7 TN 38103

Benjamin F. Westhoff

BLACKWELL SANDERS PEPER MARTIN LLP
720 Olive St.

Ste. 2400

St. Louis7 MO 63101

Randall S. Thompson

BLACKWELL SANDERS PEPER MARTIN LLP
720 Olive St.

Ste. 2400

St. Louis7 MO 63101

Keith R. Thomas

FORD & HARRISON, LLP- Ridge Lake Blvd.
795 Ridge Lake Blvd.

Ste. 300

1\/1emphis7 TN 38120

Bradley S. Hiles

BLACKWELL SANDERS PEPER MARTIN LLP
720 Olive St.

Ste. 2400

St. Louis7 MO 63101

Louis P. Britt

FORD & HARRISON, LLP- Ridge Lake Blvd.
795 Ridge Lake Blvd.

Ste. 300

1\/1emphis7 TN 38120

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Stephen H. Biller

THE BOGATIN LAW FIRM
1661 International Place Dr.
Ste. 300

1\/1emphis7 TN 38120

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US DISTRICT COURT

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